     Case 1:17-cr-00137-AWI-SKO Document 74 Filed 12/27/18 Page 1 of 2


1    MARC DAYS, #184098
     Days Law Firm
2    2300 Tulare Street, Suite 240
     Fresno, California 93721
3    Telephone: (559) 708-4844
4    Attorney for Defendant
     GREVIN MARIO MORALES, SR.
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8
                              IN THE UNITED STATES DISTRICT COURT
9
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
      UNITED STATES OF AMERICA,                  )   Case No. 1:17-cr-00137 LJO SKO
12                                               )
                       Plaintiff,                )   STIPULATION TO SET HEARING FOR
13                                               )   CHANGE OF PLEA AND WITHDRAWAL
            vs.                                  )   MOTION TO SUPPRESS AND FOR FRANKS
14                                               )   HEARING
      GREVIN MARIO MORALES, SR,                  )
15                                               )   DATE: January 28, 2019
                                                 )   TIME: 8:30 a.m.
16                     Defendants.               )   JUDGE: Hon. Lawrence J. O’Neill
                                                 )
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            IT IS HEREBY STIPULATED by and between the parties hereto, and through their
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     respective attorneys of record herein, that the above-captioned matter be set for hearing for
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20   change of plea on January 28, 2019, at 8:30 am, before the Honorable Lawrence J. O’Neill,

21   United States District Court Judge. The parties further stipulate that Defendant’s Motion to
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     Suppress and for a Franks Hearing be withdrawn.
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            The reason for the request is that the parties believe they have resolved the above-
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     captioned matter and, therefore, that it is appropriate for the government to not respond to
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26   Defendant’s Motion to Suppress and for a Franks Hearing and for the motion to be withdrawn.

27   The parties previously agreed to the exclusion of time to February 26, 2019. [Dkt 62].
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     Case 1:17-cr-00137-AWI-SKO Document 74 Filed 12/27/18 Page 2 of 2


1                                                      McGREGOR W. SCOTT
                                                       United States Attorney
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3    Dated: December 27, 2018                          /s/ Angela Scott
                                                       ANGELA SCOTT
4                                                      Assistant United States Attorney
                                                       Attorney for Plaintiff
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7    Dated: December 27, 2018                          /s/ Marc Days
                                                       MARC DAYS
8                                                      Attorney for Defendant
                                                       Grevin Mario Morales, Sr.
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                                                       ORDER
11
                         IT IS SO ORDERED. For the reasons set forth above, the above captioned
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     matter is set for a change of plea hearing on January 28, 2019, at 8:30 am, and Defendant’s
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     Motion to Suppress and for a Franks Hearing is withdrawn.
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     IT IS SO ORDERED.
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17
        Dated:        December 27, 2018                        /s/ Lawrence J. O’Neill _____
                                                       UNITED STATES CHIEF DISTRICT JUDGE
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       Stipulation to Set Hearing For Change of Plea
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